
333 N.W.2d 409 (1983)
214 Neb. 220
STATE of Nebraska ex rel. NEBRASKA STATE BAR ASSOCIATION, Relator,
v.
William E. TOMEK, Respondent.
No. 83-077.
Supreme Court of Nebraska.
April 29, 1983.
*410 KRIVOSHA, C.J., and BOSLAUGH, McCOWN, WHITE, HASTINGS, CAPORALE, and SHANAHAN, JJ.
PER CURIAM.
This matter came on upon the complaint filed against the respondent, William E. Tomek, of David City, Nebraska, by the Committee on Inquiry of the Third Judicial District.
The respondent has filed with this court a conditional admission of guilt of the formal charges filed against him.
Respondent is charged with a violation of Canon 1, DR 1-102(A)(1), (4), (6), Canon 5, DR 5-103(A)(1), (2) and 5-104(A), Canon 6, DR 6-101(A)(3), and Canon 9, DR 9-102(A)(1), (2) and (B)(1), (2), (3), (4), and with a violation of his license to practice law as provided in Neb.Rev.Stat. § 7-104 (Reissue 1977).
In the complaint it is charged that while acting as the personal representative in an estate matter, the respondent withdrew $25,651.70 from the estate funds without notice to or authority or approval of the county court of Platte County, Nebraska, and that in three reports filed with the court by the said respondent as personal representative of the estate, he failed to disclose said withdrawal. In another matter the respondent was retained to represent a client in a property loss action. Respondent received a $75 check from his client to cover court filing costs and other costs of the action. However, no lawsuit was ever instituted on behalf of the client, despite repeated assurances from respondent that the lawsuit had been filed and was progressing toward either settlement or trial.
The conditional admission of guilt reflects that the funds from the estate were repaid and that the check received for court filing costs and other costs was never cashed and was returned by the respondent to his client.
Upon due consideration, it is ordered by the court, based upon the charges described in the complaint and the respondent's conditional admission of guilt, and the approval thereof by the Counsel for Discipline, that said William E. Tomek be, and he hereby is, suspended from the practice of law for a period of 1 year, said suspension to commence on May 1, 1983.
JUDGMENT OF SUSPENSION.
